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XProb 12B                  UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

            PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                         WITH CONSENT OF THE OFFENDER
                          (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                        Jerry AGBALOG

Docket Number:                        1:93CR5230-005

Offender Address:                     Delano, California

Judicial Officer:                     Honorable Oliver W. Wanger
                                      Senior United States District Judge
                                      Fresno, California

Original Sentence Date:               11/20/1995

Original Offense:                     Ct. 1) 21 USC 846 & 841(a)(1) - Conspiracy to
                                      Distribute Cocaine and Crystal Methamphetamine
                                      (CLASS A FELONY)
                                      Ct. 3) 18 USC 1956(a)(1)(B)(i)(g) - Conspiracy to
                                      Launder Money
                                      (CLASS C FELONY)

Original Sentence:                    141 months Bureau of Prisons; 60 months TSR; $100
                                      special assessment

Special Conditions:                   Search; drug aftercare to include testing; notify U. S.
                                      Attorney of any change in residence or mailing address
                                      until financial obligation fulfilled.

Type of Supervision:                  Supervised Release

Supervision Commenced:                04/22/2003

Assistant U.S. Attorney:              Kenneth J. Melikian             Telephone: (559) 499-4000

Defense Attorney:                     John F. Garland (appt.) Telephone: (559) 497-6132

Other Court Action:                   None




                                                                                                            R ev. 06/2006
                                                                               V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                                                               (M O D IFIC A T IO N ).M R G
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RE:    Jerry AGBALOG
       Docket Number: 1:93CR05230-005
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER




                                PETITIONING THE COURT

To modify the conditions of supervision as follows:

       The defendant shall reside and participate in a residential community
       correctional center, for a period not to exceed 120 days; said placement shall
       commence as directed by the probation officer pursuant to 18 USC
       3563(b)(11). The defendant shall pay cost of confinement as determined by
       the Bureau of Prisons.


Justification: On June 15, and July 6, 2006, Mr. Agbalog provided random drug tests
to the U. S. Probation Officer as identified by specimen numbers C00458972 and
C00527838. Both urine samples were tested by Scientific Testing Laboratories and
returned positive for the presence of methamphetamine/amphetamine. Mr. Agbalog was
confronted with the results of his drug tests during office visits on July 6, and July 20, 2006.
Mr. Agbalog admitted to the use of the illegal substances, stating he was depressed over
his fiancee in the Philippines breaking up with him. It should also be noted that Mr.
Agbalog injured his thumb at work and has been on disability due to that injury since
February 2006.

Prior to Mr. Agbalog's injury and the submission of the positive urine tests, he appeared
to be compliant with his terms of supervision. Mr. Agbalog agreed to placement within the
community corrections center as supported by his signature on the Probation Form 49. Mr.
Agbalog is thankful that he would not be returned to prison at this time and that he will
continue to be able to see the Doctor who is handling his disability claim regarding his
thumb.

Mr. Agbalog has been placed back into drug counseling and Phase I drug testing at
Turning Point, Bakersfield. He has been informed that should he continue to use illegal
substances a more restrictive recommendation will be forthcoming.

                                                                                                     R ev. 06/2006
                                                                        V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                               2                                        (M O D IFIC A T IO N ).M R G
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RE:   Jerry AGBALOG
      Docket Number: 1:93CR05230-005
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER



                                  Respectfully submitted,

                                  /s/ Thomas A. Burgess

                                 THOMAS A. BURGESS
                         Senior United States Probation Officer
                              Telephone: (661) 861-4392

DATED:         July 20, 2006
               Bakersfield, California
               TAB:ks


REVIEWED BY:          /s/ Rick C. Louviere
                      RICK C. LOUVIERE
                      Supervising United States Probation Officer




THE COURT ORDERS:

(X)   Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

IT IS SO ORDERED.

Dated: July 21, 2006                          /s/ Oliver W. Wanger
emm0d6                                   UNITED STATES DISTRICT JUDGE




                                                                                               R ev. 06/2006
                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                             3                                    (M O D IFIC A T IO N ).M R G
